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                                                              ^IOQ.G^ /^ciy^^^S-^^^
                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE WESTERN DISTRICT OF LOUISIANA
                                                                                5:19-cv-1388
                                  SHREVEPORT DIVISION



CLINTON STRANGE,                                                              OCT 2 4?0]Q
Plaintiff



V.




HEALTHY HALO INSURANCE SERVICES, INC.;

a California Domestic Corporation

BRENT THOMAS HEURTER;

individually as the Owner of Healthy Halo Insurance Services, Inc.

ELEA LYNN SHERROD;

individually as an Officer (Vice President) of Healthy Halo Insurance Services, Inc.

ROBIN KAY HALEN;

individually as an Officer & Director (of Operations) for Healthy Halo Insurance Services, Inc.

&
John Doe,

Defendants




                                        CIVIL ACTION

             COMPLAINT FOR WILLFUL AND KNOWING VIOLATIONS OF:

              THE TELEPHONE CONSUMER PROTECTION ACT OF 1991;

        THE LOUISIANA TELEPHONE SOLICITATION RELIEF ACT OF 2001;

                                                &
                         LOUISIANA CIVIL CODE ARTICLE 2315




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Jury Trial Demand



                                PRELIMINARY STATEMENT:

   1. This is an action brought in good faith by an adult individual against Defendants

       HEALTHY HALO INSURANCE SERVICES, INC. ("HALO") a California Domestic

       Corporation; BRENT HEURTER ("HEURTER") individually as the owner of Healthy

      Halo Insurance Services, Inc.; ELEA LYNN SHERROD ("SHERROD") individually as

       an Officer (Vice President) of Healthy Halo Insurance Services, Inc.; ROBUST KAY

      HALEN ("KAY") individually as an Officer & Director (of Operations) for Healthy Halo

      Insurance Services, Inc., and John Doe ("DOE"), whose true identity is unknown to the


      Plaintiff at this time, herein and collectively ("DEFENDANTS"), for willful and knowing

      violations of parts of the Telephone Consumer Protection Act of 1991 ("TCPA"):


                                 47 U.S. Code § 227(b)(l)(A)(iii)
                                                 &
                                     47 U.S. Code § 227(c)(5)



   2. The Plaintiff brings this private civil action to enforce the provisions of these laws in his

      own response, as a responsible citizen of both the State of Louisiana and the United States


      of America, to the overwhelming wide-spread public outrage about the proliferation of


      intrusive, disturbing, and absolutely annoying, nuisance telemarketing practices. See


      Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 745 (2012). The Plaintiff is seeking a


      maximum award for damages, and an enjoinder from further violations of the parts herein.




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                               JURISDICTION AND VENUE:

   3. Jurisdiction lies properly in this court because the action involves a Federal Question
      pursuant to:

                                    47 U.S. Code § 227(g)(2)

                                                &
                                      28 U.S. Code §1331

   4. Supplemental Jurisdiction (should the Court choose to exercise it ) is proper to address


      Plaintiffs State Law claims under:


                                     28 U.S. Code § 1367(a)

   5. Venue lies proper in this U.S. District Court pursuant to:

                                    47 U.S. Code § 227(g)(4)

                                                &
                                      28 U.S. Code §1391




                                           PARTIES:

   6. Plaintiff, CLINTON STRANGE, is an adult individual residing at the address of:

                                     CLINTON STRANGE

                                    7021 WINBURN DRIVE

                                   GREENWOOD, LA 71033



   7. Defendant HEALTHY HALO INSURANCE SERVICES, INC. is a California Domestic

      Corporation who engages in the business of Healthcare Insurance Lead Generation,


      Brokering, and or offers Health Insurance plans to individuals. Simply put, this defendant


      markets Health Insurance plans. According to The California Secretary of State this


      Defendant is principally domiciled at the address of:


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                      HEALTHY HALO INSURANCE SERVICES INC.

                                  2830 NORTH ONTARIO STREET

                                      BURBANK,CA91504

                            , and whose Registered Agent is listed as:

                                     ELEA LYNN SHERROD

                    c/o: HEALTHY HALO INSURANCE SERVICES INC.

                                  2830 NORTH ONTARIO STREET
                                      BURBANK,CA91504



   8. Defendant BRENT THOMAS HEURTER is named individually as the owner of Healthy

      Halo Insurance Services, Inc. According to the California Department of Insurance this


      Defendant is principally domiciled at or alternatively can be served at the address of:


                                   BRENT THOMAS HEURTER

                                  515 SOUTH FLOWER STREET

                                          36TH FLOOR

                                    LOS ANGELES, CA 90071

   9. Defendant ELEA LYNN SHERROD is named individually as an Officer (Vice

      President) of Healthy Halo Insurance Services, Inc. According to the California


      Department of Insurance this Defendant is principally domiciled at or alternatively can be


      served at the address of:


                                     ELEA LYNN SHERROD

                                      14 BAYMARE ROAD

                                    BELL CANYON, CA 913 07



   10. Defendant ROBIN KAY HALEN is named individually as an Officer & Director (of

      Operations) for Healthy Halo Insurance Services, Inc. According to the California


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       Department of Insurance this Defendant is principally domiciled at or alternatively can be


       served at the address of:


                                       ROBIN KAY HALEN

                                   19901 COMMUNITY STREET

                                    CANOGA PARK, CA 91306



   11. Defendant John Doe is a fictitiously named Defendant that sent the Plaintiff at least one


       text message on behalf of the other Defendants and is a subscriber to or of the Short-Code


       "909090" assuming the caller ID information was not "spoofed".


                       THE PLAINTIFF'S FACTUAL ALLEGATIONS

                                             SECTION I:

              THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

   12. The Telephone Consumer Protection Act of 1991 "TCPA" states in part under subsection


       b:

(b) Restrictions on use of automated telephone equipment(l) Prohibitions: It shall be unlawful

for any person within the United States, or any person outside the United States if the recipient is


within the United States-(A) to make any call (other than a call made for emergency purposes or


made with the prior express consent of the called party) using any automatic telephone dialing


system or an artificial or prerecorded voice-


(i) to any emergency telephone line (including any "911" line and any emergency line of a


hospital, medical physician or service office, health care facility, poison control center, or fire


protection or law enforcement agency);


(ii) to the telephone line of any guest room or patient room of a hospital, health care facility,


elderly home, or similar establishment; or



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   (iii) to any telephone number assigned to a paging service, cellular telephone service, specialized


   mobile radio service, or other radio common carrier service, or any service for which the called


   party is charged for the call, unless such call is made solely to collect a debt owed to or


   guaranteed by the United States;

13. The Telephone Consumer Protection Act of 1991 states in part under subsection c:


   (5) Private right of action: A person who has received more than one telephone call within any


   12-month period by or on behalf of the same entity in violation of the regulations prescribed


   under this subsection may, if otherwise permitted by the laws or rules of court of a State bring in


   an appropriate court of that State.


                                              SECTION II:
       THE TEXT MESSAGE THAT WAS SENT TO THE PLAINTIFF'S CELLPHONE

        14. The Plaintiff alleges that he received an unwanted and unsolicited Text Message on his

          cellphone placed by or on behalf of the Defendants on August 15, 2019 at 11:36am CST.




           909090
           Mobile




        TODAY is the deadline to enroll in affordable PPO
        Healthcare with effective date August 15th! Call ASAP
        844-360-0420 open till 8PM EST. Reply STOP to opt-out.


              Type a message...                                                                  ^
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  15. The Plaintiff represents that the text message "image" in the foregoing paragraph was the


     text message that he received on his cellphone number 318-780-6136 that was sent by or


     alternatively on behalf of the Defendants.


  16. The Defendants either directly or through a third-party lead generator that was acting on


     the Defendant's behalf under the common law doctrine of agency sent the text message to


     the Plaintiffs cellphone, and the Plaintiff represents that the following image is the

     message information regarding the unwanted and unsolicited text message spam:




                                                         Text message


                                                            158 bytes

                                                           962044070

                                                               Phone




                          Me
                          Mobile: (318) 780-6136



                                             Close

                               r/r ^ U I I 1^-WWUSI^*




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   17. The text message was intended to promote the Defendants' goods and services


      (HealthCare Insurance) which constitutes telemarketing.


   18. The Text message was not sent for emergency purposes.


   19. The text message was not intended as a Healthcare reminder. It was intended as an


      attempt to lure the Plaintiff into purchasing the Defendants' goods and services.


   20. The text message was a telemarketing Text Message Spam.


                                           SECTION HI:


  DEFENDANTS' ALLEGED USE OF AN AUTOMATIC TELEPHONE DIALING SYSTEM


   21. The U.S. Federal Communications Commission ("FCC") has issued rulings and clarified that

      consumers are entitled to the same consent-based protections for text messages as they are for


      calls to wireless numbers. See Satter field v. Simon & Schuster, Inc., 569 F.3d 946, 952 (9th

      Cir. 2009) (The FCC has determined that a text message falls within the meaning of "to make

      any call" in 47 U.S.C. § 227(b)(l)(A)); Toney v. Quality Res., Inc., 2014 WL 6757978, at *3

      (N.D. 111. Dec. 1, 2014) (Defendant bears the burden of showing that it obtained Plaintiffs

      prior express consent before sending him the text message), (emphasis added).

  22. In an action under the TCPA, a plaintiff must only show that the defendant "called a number

      assigned to a cellular telephone service using an automatic dialing system or prerecorded voice."


      Breslowv. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), affd, 755 F.3d

      1265 (llth Cir. 2014).

  23. A text message to a cellular telephone qualifies as a "call" within the meaning of the


      TCPA. Gager v. Dell Fin. Servs., LLC, 727 F.3d 265, 269 n.2 (3d Cir. 2013).

  24. The Plaintiff alleges that a high volume of consumer complaints and volume are proof of that an

      Automatic Telephone Dialing System ("ATDS") was being utilized to disseminate the unwanted

      commercially solicited text spam messages upon numerous consumers [See Exhibit A].

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   25. Defendant Halo is a recidivist ATDS text message spam TCPA violator. The Plaintiff was able to

      identify at least 4 class action settlements in which the same violative conduct that the Plaintiff

      alleges against the Defendants were alleged in those actions brought.



                                            SECTION IV:


      THE ALLEGED CONNECTION BETWEEN THE DEFENDANTS AND THE

                       ALLEGED ILLEGAL TEXT MESSAGE SPAM


                                               PART A:


              THE CONTENT OF THE ALLEGED TEXT MESSAGE SPAM

   26. The text spam content referred plaintiff to a phone number (844) 360-0420.

   27. The phone number (844) 360-0420 is connected with a website

      www.healthmarketplace.net [See Exhibit C].


   28. The website www.healthmarketplace.net is registered to the same entity as


      www.buyhealthinsurance.com.


   29. According to information gathered from whois.com and godaddy.com the websites as


      referenced above are registered to Defendant Halo and or Defendant Heurter [See Exhibit


      D].


                                               PART B:


                        THE ACTORS INVOLVED IN THE DISPUTE


   30. Defendant Halo is the registrant for websites www.buyhealthinsurance.com and


      www.healthmarketplace.net.




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    31. Defendant Halo sells Health Insurance or alternatively is a broker of Health Insurance


       Policies.


    32. Defendant Halo is Licensed by the California Department of Insurance under license No.


       OF76054 [See Exhibit E].

    33. Defendant Heurter is the owner of Halo [See Exhibit F].


    34. Defendant Heurter is a licensed insurance agent who according to the California


       Department of Insurance maintains the License No. 0823820 [See Exhibit GJ.


    35. Defendant Heurter oversees the day to day operations of HALO.


    36. Defendant Sherrod is a licensed insurance agent who according to the California


       Department of Insurance maintains License No. 0756659 [See Exhibit H],

    37. Defendant Sherrod is the Vice President of Defendant HALO [See Exhibit Ij.

    38. Sherrod oversees the corporation (HALO) along with Defendants Heurter and Kay.


    39. Defendant Kay is a licensed insurance agent. According to the California Department of


       Insurance this Defendant holds License No. OD92613 [See Exhibit J].

    40. Kay is the Operations Director at HALO [See Exhibit K].

    41. Defendant Kay is an officer and or director of Defendant Halo.


    42. Defendant Kay has special knowledge and directly oversees HALO'S day-to-day


       marketing activities as its Operations Director.


    43. All these Defendants either knew or should have known about violative unwanted


       commercial unsolicited text spam being sent on their behalf.




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                                              PART C:


   THE DEFENDANT'S ALLEGED HISTORY OF SENDING TEXT MESSAGE SPAM


    44. Defendant HALO has had 4 class action lawsuits filed against them for the same alleged


       violative behavior [See Exhibit L].

    45. The Defendants are recidivist violators of the TCPA.




                                             SECTION V:


             HOW THE PLAINTIFF ACTED TO MITIGATE HIS DAMAGES


    46. The Plaintiff registered his cellphone number 318-780-6136 on the U.S. Federal Trade


       Commission's Do-Not-Call Registry on April 4, 2019 [See Exhibit M].

    47. The Plaintiff registered his cellphone number 318-780-6136 on the Louisiana Public

       Service Commission's Do-Not-Call Registry on April 4, 2019 [See Exhibit NJ.




                                          SECTION VI:


                   STATEMENTS REGARDING VICARIOUS LIABLITY


    48. For more than twenty years, the FCC has explained that its "rules generally establish that


       the party on whose behalf a solicitation is made bears ultimate responsibility for any




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       violations." In re Rules & Regulations Implementing the TCPA, CC Docket No. 92-90,


       Memorandum Opinion and Order, 10 FCC Red 12391, 12397 (^ 13) (1995).

    49. In its January 4, 2008 ruling, the FCC likewise held that a company on whose behalf a


       telephone call is made bears the responsibility for any violations. Id. (specifically


       recognizing "on behalf of liability in the context of an autodialed or prerecorded message


       call sent to a consumer by a third party on another entity's behalf under 47 U.S.C. §


       227(b)).

    50. In fact, the Federal Communication Commission has instructed that sellers such as Halo


       may not avoid liability by outsourcing telemarketing to third parties, such as Doe:


    51. [AJllowing the seller to avoid potential liability by outsourcing its telemarketing activities

       to unsupervised third parties would leave consumers in many cases without an effective


       remedy for telemarketing intrusions. This would particularly be so if the telemarketers


       were judgment proof, unidentifiable, or located outside the United States, as is often the


       case. Even where third-party telemarketers are identifiable, solvent, and amenable to


       judgment limiting liability to the telemarketer that physically places the call would make

       enforcement in many cases substantially more expensive and less efficient, since


       consumers (or law enforcement agencies) would be required to sue each marketer


       separately in order to obtain effective relief. As the FTC noted, because "[s]ellers may


       have thousands of'independent' marketers, suing one or a few of them is unlikely to


       make a substantive difference for consumer privacy."May 2013 FCC Ruling, 28 FCC Red


       at 6588 (Tf 37) (internal citations omitted).

    52. On May 9, 2013, the FCC released a Declaratory Ruling holding that a corporation or


       other entity that contracts out its telephone marketing "may be held vicariously liable




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       under federal common law principles of agency for violations of either section 227(b) or


        section 227(c) that are committed by third-party telemarketers." In re Joint Petition Filed


       by DISH Network, LLC et al. for Declaratory Ruling Concerning the TCPA Rules, 28


       FCC Red 6574, 6574 (Tf 1) (2013) ("May 2013 FCC Ruling").

    53. Finally, the May 2013 FCC Ruling states that called parties may obtain "evidence of these

       kinds of relationships . .. through discovery, if they are not independently privy to such


       information." Id. at 6592-593 (^ 46). Evidence of circumstances pointing to apparent


       authority on behalf of the telemarketer "should be sufficient to place upon the seller the


       burden of demonstrating that a reasonable consumer would not sensibly assume that the


       telemarketer was acting as the seller's authorized agent." Id. at 6593 (^ 46).


    54. At all times pertinent hereto Defendants were acting by and through their agents, servants


       and / or employees who were acting within the course and scope of their agency or


       employment, and under the direct supervision and control of the Defendants herein.


    55. At all times pertinent hereto, the conduct of the Defendants, as well as that of their


       agents, servants and/ or employees was intentional, reckless, and in grossly negligent


       disregard for Federal Laws and the rights of the Plaintiff herein.


                                           SECTION VII:


    LOUISIANA STATUTES AND CIVIL CODES APPLICAPLE TO THE ALLEGED

              VIOLATIVE UNWANTED TEXT MESSAGE SPAM MESSAGE


    56. Defendants conduct amounted to tort feasance of Trespass to Plaintiffs Chattel (his


       cellphone) and by means of their conduct temporarily caused the Plaintiff to suffer

       Dispossession of his movable property.




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    57. The text message was a Private Nuisance that Plaintiff had to endure as a result and direct


       and proximate cause of the actions of the Defendants.


    58. The text message caused the Plaintiffs cellphone to "awaken" from rest mode and


       illuminate, chime, and vibrate which caused a measurable amount of drainage and wear


       on the Plaintiffs cellphone battery, and power storage capacity.


    59. The text message occupied a measurable amount of available memory on his cellphone


       which deallocated his available memory storage capacity by at least one hundred fifty-


       eight bytes (158 bytes).

    60. The text message caused the Plaintiff to have to exert a measurable amount of both


       physical and mental energy to walk to his phone, review the contents of the text message


       spam, and clear it from his incoming message queue.


    61. Because of the nature of the text message in regard to "Healthcare" the Plaintiff felt


       compelled to visit his VA Health Benefits Profile website to ensure that he was still

       enrolled, and his benefits "status" as a Priority Group-I participant did not need to be


       reviewed or updated.


    62. Telephone Consumer Protection statutes under Louisiana Law are investigated by the


       Louisiana Public Service Commission.


    63. Telephonic solicitation during state of emergency is Prohibited in The State of Louisiana

       during declared States of Emergency. On the date that the Defendants sent the violative


       text message spam to the Plaintiff the State of Louisiana was under a Declared State of


       Emergency [See Exhibit 0].




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    64. Pursuant to La. R.S. § 45:844.31 Louisiana law prohibits businesses from


       conducting telephone solicitations during a state of emergency unless an exemption


       applies.


                                           SECTION VIII:

   PLAINTIFF'S LEGAL STANDING TO BRING AN ACTION AGAINST THE DEFENDANTS

    65. The Plaintiff has suffered articulated and particularized harm that was caused either


       directly by or alternatively on behalf of the Defendants.


    66. Article III "standing consists of three elements." Spokeo, 136 S. Ct. at 1547 (quoting


       Luj'an, 504 U.S. at 560). To establish standing, "[t]he plaintiff must have (1) suffered an

       injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and

       (3) that is likely to be redressed by a favorable judicial decision." Id. "The plaintiff, as the

       party invoking federal jurisdiction, bears the burden of establishing these elements." Id.


       (citing FW/PBS, Inc. v. Dallas, 493 U.S. 215, 231 (1990)).

    67. In Spokeo, the Supreme Court held intangible injuries can be concrete and, under certain


       circumstances, the risk of real harm can also satisfy the requirement ofconcreteness. Id. at


       1549. However, "Article III standing requires a concrete injury even in the context of a


       statutory violation." Id. As such, a plaintiff may "not, for example, allege a bare


       procedural violation, divorced from any concrete harm, and satisfy the injury-in-fact


       requirement of Article III." Id. (citing Summers v. Earth Island Inst., 555 U.S.488,496


       (2009) ("[DJeprivation of a procedural right without some concrete interest that is affected

       by the deprivation ... is insufficient to create Article III standing.")) (additional citation


       omitted).




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    68. The Federal Communications Commission ("FCC") is empowered to issue rules and


       regulations implementing the TCPA. According to the FCC's findings, calls in violation

       of the TCPA are prohibited because, as Congress found, automated or prerecorded


       telephone calls are a greater nuisance and invasion of privacy than live solicitation calls,


       and such calls can be costly and inconvenient. The FCC also recognized that wireless


       customers are charged for incoming calls whether they pay in advance or after the minutes


       are used. Rules and Regulations Implementing the Telephone Consumer Protection Act of


        1991, CG Docket No. 02-278, Report and Order, 18 FCC Red 14014 (2003).


                           THE COUNTS AND CAUSES OF ACTION:


                                               COUNT I:

                                      (Plaintiff v. All Defendants)

                NEGLIGENT VIOLTIONS OF THE TCPA SUBSECTION B

                                      47 U.S. Code § 227(b)(l)(A)(iii)
    69. The Plaintiff incorporates the allegations from all previous paragraphs as if fully set forth

       herein at length.


    70. The Defendants placed at least one (1) "call" (text message) to the Plaintiffs cellphone

       without his consent using an ATDS in violation of subsection b of the TCPA.


    71. The Plaintiff seeks five hundred dollars ($500 U.S. Dollars) in damages for each and

       every violation which the Court or trier of fact finds that the Defendants are Negligently

       liable to the Plaintiff for.

    72. The Plaintiff is entitled to and seeks injunctive relief enjoining the Defendants from future

       violations of this part.




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                                             COUNT II:
                                    (Plaintiff v. All Defendants)

       WILLFUL AND KNOWING VIOLATIONS OF THE TCPA SUBSECTION B

                                    47 U.S. Code § 227(b)(l)(A)(iii)
    73. The Plaintiff incorporates the allegations from all previous paragraphs as if fully set forth

       herein at length.


    74. The Defendants placed at least one (1) "call" (text message) to the Plaintiffs cellphone

       without his consent using an ATDS in violation of subsection b of the TCPA.


    75. The Plaintiff seeks fifteen hundred dollars ($1500 U.S. Dollars) in damages for each and

       every violation which the Court or trier of fact finds that the Defendants are Willfully and

       Knowingly liable to the Plaintiff for.

    76. The Plaintiff is entitled to and seeks injunctive relief enjoining the Defendants from future

       violations of this part.


                                            COUNT HI:

                                    (Plaintiff v. All Defendants)

       NEGLIGENT VIOLATIONS OF LOUISIANA CIVIL CODE ARTICLE 2315

    77. The Plaintiff incorporates the allegations from all previous paragraphs as if fully set forth

       herein at length.


    78. Louisiana Civil Code Article 2315(A) states " Every act whatever of man that causes

       damage to another obliges him by whose fault it happened to repair it.".

   79. As outlined in the foregoing paragraphs the Defendants did cause damages to the Plaintiff

       in the form of wasted time and energy, endurance of a nuisance, dispossession of his

       Chattel by way of Trespass to his movable property, deminimus battery depletion,

       deallocation of his cellphone's memory, use of monthly assigned mobile data plan bytes,

       and the increased risk of "missing" any important State of Louisiana Office of Homeland

       Security Communications during a Declared State of Emergency.


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    80. To the extent that the Court or trier of fact finds the Defendants were negligently liable for

       damages under this count the Plaintiff defers to Louisiana Civil Code 2324.1 which states:

       "In the assessment of damages in cases ofoffenses, quasi offenses, and quasi contracts,

       much discretion must be left to the judge or jury".

    81. The Plaintiff is entitled to and seeks injunctive relief enjoining the Defendants from future

       violations of this part.




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       Jury Trial Demand;

         Plaintiff demands trial by jury on all issues so triable.




       Prayer for Relief;


       WHEREFORE, Plaintiff seeks judgement in Plaintiffs favor and damages
       against the Defendants, based on the following requested relief:


       Statutory Damages;
       Treble Damages;
       Pre and Post Judgement Interest;
       Enjoinder from further violations of these parts;
       Costs of litigating the action together along with all reasonable attorney's
       fees (if any) and court costs;
       And such other and further relief as may be necessary, just and proper.


       Respectfully Submitted,

       x duU --)W i^/^ 3/ '^-0 \ ^
       Clinton Strange
      Pro              Se          Dated
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       Greenwood, LA 71033
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